Case 2:22-cv-04512-FLA-E    Document 138 Filed 07/10/25       Page 1 of 4 Page ID
                                   #:6929



 1 John W. Spiegel (State Bar No. 78935)
     john.spiegel@mto.com
 2 John Schwab (State Bar No. 301386)

 3 john.schwab@mto.com
     Craig Jennings Lavoie (State Bar No. 293079)
 4 craig.lavoie@mto.com
     MUNGER, TOLLES & OLSON LLP
 5 350 South Grand Avenue, Fiftieth Floor

 6
   Los Angeles, California 90071-3426
   Telephone: (213) 683-9100
 7 Facsimile: (213) 687-3702

 8 Edwin F. McPherson (State Bar No. 106084)
     emcpherson@mcpherson-llp.com
 9 Pierre B. Pine (State Bar No. 211299)
10 ppine@mcpherson-llp.com
     Gabriel Henriquez (State Bar No. 289007)
11 ghenriquez@mcpherson-llp.com
     McPHERSON LLP
12 1900 Avenue of the Stars, 25th Floor

13
   Los Angeles, CA 90067
   Tel: (310) 553-8833
14 Fax: (310) 553-9233

15 Attorneys for Defendant JUSTIN TIMBERLAKE

16

17                         UNITED STATES DISTRICT COURT
18               FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     JOHN URBANO,                               Case No. 2:22-cv-04512-FLA-E
20
                                                JOINT NOTICE OF SETTLEMENT
21                     Plaintiff,
                                                Judge: Hon. Fernando L. Aenlle-Rocha
22
                 vs.                            Trial Date:    January 5, 2026
23
     JUSTIN TIMBERLAKE,
24

25                     Defendant.
26

27

28


                                                               JOINT NOTICE OF SETTLEMENT
Case 2:22-cv-04512-FLA-E     Document 138 Filed 07/10/25       Page 2 of 4 Page ID
                                    #:6930



 1        NOTICE IS HEREBY GIVEN that Plaintiff JOHN URBANO (hereinafter
 2 “Plaintiff”) and Defendant JUSTIN TIMBERLAKE (hereinafter “Defendant”)

 3 (collectively hereinafter the “Parties”), have reached a settlement in this case.

 4 Counsel for the Parties are in the process of drafting and executing a formal

 5 settlement agreement and related dismissal papers.

 6        The Parties expect that the final executed Joint Stipulation of Dismissal of all
 7 claims will be filed within 30 days, once the settlement terms have been finalized,

 8 and the terms of the settlement have been satisfied.

 9 ///
10 ///

11 ///

12 ///

13 ///

14 ///

15 ///

16 ///

17 ///

18 ///

19 ///

20 ///

21 ///

22 ///

23 ///

24 ///

25 ///

26 ///

27 ///

28 ///
                                               -2-
                                                                 JOINT NOTICE OF SETTLEMENT
Case 2:22-cv-04512-FLA-E   Document 138 Filed 07/10/25       Page 3 of 4 Page ID
                                  #:6931



 1        The Parties request that the Court vacate all pending motions, hearings, and
 2 other deadlines, including Plaintiff’s Motion for Attorneys’ Fees (ECF No. 105) and

 3 Plaintiff’s Motion for Review of Discovery Order (ECF No. 131).

 4

 5 DATED: July 10, 2025                    John W. Spiegel
                                           John Schwab
 6                                         Craig Jennings Lavoie
 7                                         MUNGER, TOLLES & OLSON LLP

 8                                         Edwin F. McPherson
                                           Pierre B. Pine
 9                                         Gabriel Henriquez
10
                                           McPHERSON LLP

11                                                /s/ Edwin F. McPherson
                                           By: _______________________________
12                                              EDWIN F. McPHERSON
                                                Attorneys for Defendant
13                                              JUSTIN TIMBERLAKE
14

15

16 DATED: July 10, 2025                    Bailey A. Blaies
17
                                           John Austin Curry (Pro Hac Vice)
                                           Warren J. McCarty, III (Pro Hac Vice)
18                                         Daniel Pearson (Pro Hac Vice)
                                           CALDWELL CASSADY CURRY P.C.
19
                                           Stephen R. Isbell (Local Counsel)
20                                         PROCOPIO, CORY, HARGREAVES &
                                           SAVITCH LLP
21

22                                                /s/ Bailey A. Blaies
                                           By: _______________________________
23                                              BAILEY A. BLAIES
                                                Attorneys for Plaintiff
24                                              JOHN URBANO
25

26

27

28

                                             -3-
                                                               JOINT NOTICE OF SETTLEMENT
Case 2:22-cv-04512-FLA-E    Document 138 Filed 07/10/25        Page 4 of 4 Page ID
                                   #:6932



 1              LOCAL CIVIL RULE 5-4.3.4(a)(2)(i) CERTIFICATION
 2        The filer of this document attests that all other signatories listed above on
 3 whose behalf this filing is submitted concur in the filing’s content and have

 4 authorized the filing.

 5

 6 Dated: July 10, 2025                         Edwin F. McPherson
                                                Pierre B. Pine
 7                                              Gabriel Henriquez
 8                                              McPHERSON LLP

 9                                                     /s/ Edwin F. McPherson
                                                By: ____________________________
10                                                   EDWIN F. McPHERSON
11
                                                     Attorneys for Defendant
                                                     JUSTIN TIMBERLAKE
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               -4-
                                                                 JOINT NOTICE OF SETTLEMENT
